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                             .UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       No. S1-4:16 CR 000159 AGF
                                              )
LOREN ALLEN COPP, a/k/a/ “Sensei”             )
                                              )
       Defendant.                             )

              GOVERNMENT'S MOTION FOR A SENTENCING HEARING

       COMES NOW the United States of America, by and through Jeffrey B. Jensen, United

States Attorney for the Eastern District of Missouri, Jennifer A. Winfield, Assistant United States

Attorney for said District, and hereby requests that a sentencing hearing be set in this matter.

(Docs. 222 & 226). In support thereof, the Government states the following:

           1. On April 7, 2016, a complaint was filed in federal court against defendant Loren
              Copp (“Copp”), charging one Count of Production of Child Pornography. On
              April 14, 2016, a federal grand jury indicted the defendant on Counts One and
              Two: Production of Child Pornography in violation of Title 18 U.S.C. Section
              2252(a); Count Three: Attempted Production of Child Pornography in violation of
              Title 18 U.S.C. Section 2252(a) and Count Four: Possession of Child
              Pornography in violation of Title 18 U.S.C. Section 2252(a)(5)(B).

           2. Following, between May 9, 2016, and March 7, 2017, Copp filed eleven (11)
              motions to continue the evidentiary hearing in this matter.

           3. On March 29, 2017, a federal grand jury filed a superseding indictment on
              defendant Copp on Counts One and Two: Production of Child Pornography in
              violation of Title 18 U.S.C. Section 2252(a); Count Three: Attempted Production
              of Child Pornography in violation of Title 18 U.S.C. Section 2252(a); Count Four:
              Possession of Child Pornography in violation of Title 18 U.S.C. Section
              2252(a)(5)(B); Counts Five and Six: Use of Interstate Facilities to Persuade,
              Induce, Entice, or Coerce a Minor to Engage in Sexual Activity in violation of
              Title 18 U.S.C. Section 2422 and Counts Seven, Eight and Nine: Use of Interstate
              Facilities to Transmit Information with the Intent to Entice, Solicit or Encourage a
              Minor to Engage in Sexual Activity in violation of Title 18 U.S.C. Section 2425.
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        4. On June 15, 2017, the evidentiary hearing was held in this matter. On September
           19, 2017, the Memorandum, Report and Recommendations was filed and the case
           was set for trial on November 6, 2017.

        5. On September 26, 2017, the defendant filed a motion to continue the trial, and the
           matter was then set for trial on February 5, 2018.

        6. Once again, on January 10, 2018, the defendant filed another motion to continue
           the trial, and it was set for April 16, 2018.

        7. On April 2, 2018, defendant Copp waived a jury trial, and voluntarily and
           knowingly chose to represent himself at trial. Retained attorney Nathan Swanson
           was designated as stand-by counsel.

        8. This Court conducted a bench trial from April 11, 2018 to April 24, 2018.

        9. The verdicts in this matter were returned on December 26, 2018. On that same
           date, the Court ordered that Copp’s Objections to the PSR were due by March 15,
           2019.

        10. On January 4, 2019, Copp outlined 19 grounds in his motions for a new trial and
            judgement of acquittal. On January 24, 2019, the government filed its response.

        11. On January 31, 2019, Copp filed a motion for extension of time to file a reply to
            the government’s response and a request for trial transcripts.

        12. On March 13, 2019, Copp filed a motion to extend his time to file PSR objections
            and to continue the sentencing hearing in this matter.

        13. On March 18, 2019, the defendant’s motion to extend his time to file PSR
            objections and to continue the sentencing hearing in this matter was granted and
            he was given fourteen (14) days following receipt of the trial transcripts to file a
            reply to the government’s response in opposition to his motion for a new trial.

        14. The trial transcripts for the bench trial in this matter were filed on July 12, 2019.

        15. On August 16, 2019, the defendant filed his reply to the government’s response in
            opposition to his motion for a new trial, which only outlined his continued refusal
            to accept responsibility for his criminal activity and victimization of minors in this
            case.

        16. The case appears ripe for sentencing.
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           17. Under the Crime Victim’s Rights Act (“CVRA”), the government is the “lawful
               representative” of crime victims and may assert rights on their behalf. 18 U.S.C.
               §3771(d)(1) & (d)(3); see United States v. Rubin, 558 F. Supp. 2d 411, 417
               (E.D.N.Y. 2008) (“Although the statute primarily tasks the courts with the
               responsibility of securing these rights, prosecutors … are commanded to ‘make
               their best efforts to see that crime victims are notified of, and accorded’ their
               rights under the CVRA”).

           18. The CVRA provides each of the victims with “the right to be reasonably protected
               from the accused.” 18 U.S.C. §3771(a)(1) and “the right to proceedings free from
               unreasonable delay.” 18 U.S.C. §3771(a)(7).

           19. Some of the victims in this case submitted a request for restitution for the cost of
               counseling services necessitated by the defendant’s conduct. The CVRA provides
               each of the victims with “the right to full and timely restitution as provided by
               law” 18 U.S.C. §3771(a)(6). Until a sentence is imposed, the victims will not have
               full resolution of their claims for restitution or the surety of defendant’s period of
               incarceration.

           20. This case has been pending for three-and-a half years (Doc.1 – Complaint filed on
               April 7, 2016). On behalf of and in the best interests of the victims, the
               Government respectfully requests the scheduling of a sentencing date.

       WHEREFORE, in light of the foregoing, the government respectfully requests that the

sentencing hearing in this matter be set at the Court’s earliest convenience.


                                              Respectfully submitted,
                                              JEFFREY B. JENSEN
                                              United States Attorney


                                              s/ Jennifer A. Winfield
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                                CERTIFICATE OF SERVICE
       I hereby certify that on November 8, 2019, the attached was filed electronically with the
Clerk of the Court and served by way of this Court's Electronic Notification System upon all
counsel of record, and mailed to Loren Copp at the St. Charles County Adult Detention Center,
301 N. Second Street, St. Charles, MO 63301.



                                            s/ Jennifer A. Winfield
                                            JENNIFER A. WINFIELD, #53350(MO)
                                            Assistant United States Attorney
